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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



ADVANCED CODING TECHNOLOGIES                       Civil Action No. 2:24-cv-00572 (JRG)

LLC,

               Plaintiff,                          JURY TRIAL DEMANDED

       vs.

APPLE INC.,

               Defendant.


    DECLARATION OF KATHRYN THORNTON IN SUPPORT OF APPLE INC.’S
    MOTION TO DISMISS FOR IMPROPER VENUE OR ALTERNATIVELY TO
         TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA



I, Kathryn Thornton, hereby declare as follows:

       1.      I am an attorney admitted in the state of Virginia and the District of Columbia, as

well as the Eastern District of Texas.

       2.      I am an attorney at the law firm of Ropes & Gray LLP. Ropes & Gray LLP is

counsel for Defendant Apple Inc. (“Apple”) in this action.

       3.      I submit this declaration in support of Apple Inc.’s Motion to Dismiss For Improper

Venue or Alternatively to Transfer to the Norther District of California. Unless otherwise stated,

I have personal knowledge of the facts and circumstances stated below and, if called upon to

testify, I could and would testify competently to the statements made herein.

       4.      Attached as Exhibit A is a true and correct copy of a webpage from

maps.apple.com from October 6, 2024.
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        5.       Attached as Exhibit B is a true and correct copy of the Texas Certificate of

Formation Limited Liability Company for Advanced Coding Technologies LLC, dated February

15, 2022.

        6.       Attached as Exhibit C is a true and correct copy of the USPTO’s record of the

patent assignment from JVCKenwood Corporation to Advanced Coding Technologies LLC, dated

February 28, 2022.

        7.       Attached as Exhibit D is a true and correct copy of the Texas Certificate of

Formation Limited Liability Company for Anjay Technology Partners LLC, dated October 4,

2021.

        8.       Attached as Exhibit E is a true and correct copy of the California Secretary of State

Articles of Organization Limited Liability Company for Anjay Venture Partners LLC, dated

January 17, 2017.

        9.       Attached as Exhibit F is a true and correct copy of the
                                                                     , produced by Apple with bates

stamp APL-ADVCDG_00497852. Exhibit F states that it is
                                                                                                . Ex.

F § 13. Exhibit F also contains sensitive commercial terms between Apple and Best Buy, the

disclosure of which would cause competitive harm.

        10.      Attached as Exhibit G is a true and correct copy of the

                                                                                 , produced by Apple

with bates stamp APL-ADVCDG_00497845.                  Exhibit G is subject to the confidentiality

restrictions described in Exhibit F. Exhibit G also contains sensitive commercial terms between

Apple and Best Buy, the disclosure of which would cause competitive harm.

        11.      Attached as Exhibit H is a true and correct copy of the



              , produced by Apple with bates stamp APL-ADVCDG_00497786. Exhibit H is subject

to the confidentiality restrictions described in Exhibit F. Exhibit H also contains sensitive


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commercial terms between Apple and Best Buy, the disclosure of which would cause competitive

harm.

        12.   Attached as Exhibit I is a true and correct copy of the

                                        , produced by Apple with bates stamp APL-

ADVCDG_00497851. Exhibit I is subject to the confidentiality restrictions described in Exhibit

F. Exhibit I also contains sensitive commercial terms between Apple and Best Buy, the disclosure

of which would cause competitive harm.

        13.   Attached as Exhibit J is a true and correct copy of the

                                              , produced by Apple with bates stamp APL-

ADVCDG_00497783. Exhibit J is subject to the confidentiality restrictions described in Exhibit
F. Exhibit J also contains sensitive commercial terms between Apple and Best Buy, the disclosure

of which would caused competitive harm.

        14.   Attached as Exhibit K is a true and correct copy of a webpage from

https://www.qualcomm.com/company/locations/united-states from October 6, 2024.

        15.   Attached as Exhibit L is a true and correct copy of a webpage from

https://www.broadcom.com/company/about-us from October 9, 2024.

        16.   Attached as Exhibit M is a true and correct copy of a webpage from
https://stores.bestbuy.com/tx/tyler/5514-s-broadway-ave-246 from October 7, 2024.

        17.   Attached as Exhibit N is a true and correct copy of a webpage from

https://corporate.bestbuy.com/experience-stores/ from October 7, 2024.

        18.   Attached as Exhibit O is a true and correct copy of Google Maps’ driving route

from Cupertino, CA to Marshall, TX.

        19.   Attached as Exhibit P is true and correct copy of Google Maps’ driving route from

San Diego, CA to Marshall, TX.

        20.   Attached as Exhibit Q is true and correct copy of Google Maps’ driving route from

Cupertino, CA to Robert F. Peckham Federal Building & United States Courthouse, 280 South 1st

Street, San Jose, CA 95113.


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       21.     Attached as Exhibit R is true and correct copy of Google Maps’ driving route from

San Diego, CA to Robert F. Peckham Federal Building & United States Courthouse, 280 South

1st Street, San Jose, CA 95113.

       22.     Attached as Exhibit S is true and correct copy of a graphic from Lex Machina

concerning the timing cases in the Eastern District of Texas from October 1, 2019 through

September 30, 2024.

       23.     Attached as Exhibit T is true and correct copy of a graphic from Lex Machina

concerning the timing cases in the Northern District of California from October 1, 2019 through

September 30, 2024.
       24.     Attached as Exhibit U is a true and correct copy of Anjay Technology Partners

LLC’s 2023 Texas Franchise Tax Public Information Report.

       25.     Attached as Exhibit V is a true and correct copy of Anjay Venture Partners LLC’s

State of California Statement of Information filed January 18, 2024.

       26.     In support of its Motion to Dismiss or Alternatively Transfer, Apple is submitting

declarations from witnesses knowledgeable about the underlying technology, including: Guy Cote,

Muthukumaran Dhanapal, Tushar Shah, Keith Rauenbuehler, Leland Wallace, and Roger Pantos.

Apple also submitted a declaration from Brian Ankenbrandt, who is knowledgeable about Apple’s

licensing practices. These declarations contain sensitive business information that Apple considers

confidential and proprietary, including on Apple’s relevant technical teams, its third-party

suppliers, and how it stores and protects confidential information.

       I declare under penalty of perjury that the foregoing is true and correct.



Executed on October 21, 2024 in Washington, DC.


                                                     Respectfully submitted,

                                                     /s/ Kathryn C. Thornton
                                                     Kathryn C. Thornton



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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document and the attachments described herein have been served on October 21, 2024, to all

counsel of record via email.

                                                    /s/ Melissa R. Smith
                                                    Melissa R. Smith

                               CERTIFICATE UNDER LR CV-5(a)(7)(B)

       The undersigned hereby certifies that a motion to seal this document has been filed

herewith.

                                                    /s/ Melissa R. Smith
                                                    Melissa R. Smith




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